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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 7
SAMUELS JEWELERS, INC.,! : Case No. 18-11818 (CSS)
Debtor. : RE: Docket Item VT!

ORDER AUTHORIZING CHAPTER 7 TRUSTEE TO CONDUCT RULE 2004
EXAMINATIONS AND TO ISSUE SUBPOENAS IN SUPPORT THEREOF

Upon consideration of the motion of Jeoffrey L. Burtch, Chapter 7 Trustee (the “Trustee”)”
for the estate (the “Estate”) of the above-captioned debtor (the “Debtor”) for an order authorizing
the Trustee to conduct examinations under Federal Rule of Bankruptcy Procedure 2004; and the
Court having found that (i) this Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157
and 1334, (ii) venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409, (iii) this is
a core proceeding pursuant to 28 U.S.C. § 157(b) and (iv) notice of the Motion was sufficient under
the circumstances, and it appearing that no other or further notice need be provided; and after
notice and hearing, this Court has determined that the relief requested in the Motion is reasonable
and in the best interests of the Estate and its creditors; and good and sufficient cause having been
shown

NOW, THEREFORE, IT IS HEREBY ORDERED that:

1, The Motion is GRANTED.

2. The Trustee is authorized, under Bankruptcy Rule 2004, to demand and compel

 

' The last four digits of the Debtor’s taxpayer identification number are 6316 and its address is 2914 Montopolis
Drive, Suite 200, Austin, Texas 78741.
2 Capitalized terms not defined in this Order shall have the meanings ascribed to such terms in the Motion.

 
 

 

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by way of subpoena: (i) the oral examination, under oath, of any Discovery Party; and (ii) the
production of documents that might be relevant to the Trustee’s administration of the Estate or
lead the Trustee to information relevant to such administration.

3. The following procedures shall apply in connection with the Trustee’s issuance of
any subpoena:

a. Except as otherwise agreed by the Trustee, or subsequently ordered
by the Court, a Discovery Party that receives a subpoena seeking
documents (whether or not it also seeks testimony) shall, within ten (10)
days of service of such subpoena: (i) produce all non-privileged documents
responsive to such subpoena; or (ii) file and serve a motion seeking a
protective order, which the Court shall hear on shortened notice no later
than five days from the filing of such motion;

b. If the subpoena so directs, the Discovery Party shall appear for an
oral examination within seven days of service of a deposition subpoena on
the Discovery Party, which notice is deemed to be reasonable;

c. As necessary to implement the foregoing, the Trustee and his counsel
are authorized to sign and issue a subpoena from any United States
Bankruptcy Court for the applicable district in which a Discovery Party
resides, does business, maintains documents or is found, both to obtain
documents from such Discovery Party and to command the attendance of
such Discovery Party at a Rule 2004 Examination. The Trustee and his
counsel also are authorized to take such actions as may be necessary in any
other court to enforce subpoenas and otherwise effectuate the terms of this
Order;

d. Nothing in this Order limits the substantive rights of any Discovery
Party or other party under applicable law to object to or oppose any
subpoena the Trustee might serve.

 

 
 

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4. This Court shall retain jurisdiction to resolve any disputes arising or related to this

Order including any discovery disputes that may arise between or among the parties and to

interpret, implement and enforce the provisions of this Order.

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